          Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 1 of 13



                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    DEL RIO DIVISION

 MONICA M. GALLEGOS Individually as                    §
 Wrongful Death Beneficiary and as                     §
 Representative of the Estate of A.G.R.,               §
 deceased minor,                                       §
       Plaintiff,                                      §
                                                       §
 v.                                                    §
                                                       §
 JUAN MALDONADO, an individual;                        §
 CRIMSON ELIZONDO, an individual;                      §           C.A. No. 2:24-cv-00050-AM
 RICHARD BOGDANSKI, an individual;                     §
 LUKE WILLIAMS, an individual;                         §
 CHRISTOPHER KINDELL, an                               §
 individual; JOEL BETANCOURT, an                       §
 individual; VICTOR ESCALON, an                        §
 individual; TEXAS DEPARTMENT OF                       §
 PUBLIC SAFETY DOES 1 through 84;                      §
 MANDY GUTIERREZ, an individual;                       §
 UVALDE CONSOLIDATED                                   §
 INDEPENDENT SCHOOL DISTRICT;                          §
 PEDRO "PETE" ARREDONDO, an                            §
 individual; ADRIAN GONZALES, an                       §
 individual; JESUS "JJ" SUAREZ, an                     §
 individual; SCHNEIDER ELECTRIC                        §
 USA, INC.; and MOTOROLA SOLUTIONS,                    §
 INC.                                                  §
      Defendants.                                      §
                                                       §

                     DEFENDANT JESUS “J.J.” SUAREZ’S
             MOTION TO DISMISS PLAINTIFF’S ORIGINAL COMPLAINT

       Defendant Jesus “J.J.” Suarez moves to dismiss Plaintiff’s Original Complaint pursuant to

Rules 12(b)(1) and 12(b)(6), as follows:

                         NATURE AND STAGE OF PROCEEDINGS

       Plaintiff Monica M. Gallegos, Individually as Wrongful Death Beneficiary and as

Representative of the Estate of A.G.R., deceased minor, sued various entities, individuals, and police

officers—including J.J. Suarez—for the tragic events that unfolded at Robb Elementary School on
          Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 2 of 13



May 24, 2022. Plaintiff generally alleges, without any underlying factual support, that Suarez violated

her rights secured by the Fourth and Fourteenth Amendments. Suarez now moves to dismiss all

claims with prejudice because Plaintiff’s claims are barred by qualified immunity, and Plaintiff has not

otherwise stated a claim upon which relief can be granted. Suarez also moves to dismiss Plaintiff’s

claims for lack of standing.

                                      STANDARD OF REVIEW

        To survive Rule 12(b)(1), the party asserting jurisdiction bears the burden of proof on the

issue. Ramming v. U.S., 281 F.3d 158, 161 (5th Cir. 2001). If the Rule 12 (b)(1) motion is filed with

other motions, it should be decided first. Wolcott v. Sebelius, 635 F.3d 757, 762 (5th Cir. 2011). The

claim should be dismissed if the Court does not have the power to adjudicate the case. In re FEMA

Trailer Formaldehyde Prods. Liab. Litig., 668 F.3d 281, 286 (5th Cir. 2012).

        Dismissal of a lawsuit on the pleadings is proper under Rule 12(b)(6) where there is either (i)

a lack of a cognizable theory of recovery, or (ii) the absence of sufficient facts alleged under a

cognizable legal theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988). Phrased

differently, a claim may be dismissed if “it appears certain that the plaintiff cannot prove any set of

facts in support of his claim that would entitle him to relief.” Leffall v. Dallas Indep. Sch. Dist., 28 F.3d

521, 524 (5th Cir. 1994); Norman v. Apache Corp., 19 F.3d 1017, 1021 (5th Cir. 1994). While a court will

accept a plaintiff’s factual allegations as true, the factual allegations must exist; “[d]ismissal is proper

if the complaint lacks an allegation regarding a required element necessary to obtain relief.” Blackburn

v. City of Marshall, 42 F.3d 925, 931 (5th Cir. 1995).

        To survive a Rule 12(b)(6) motion to dismiss, a plaintiff must plead sufficient factual

allegations that, when assumed to be true, state a claim for relief that “is plausible on its face.” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (citations omitted). The plausibility standard “asks for more than a

sheer possibility that a defendant has acted unlawfully.” Id. When a complaint pleads facts that are



                                               Page 2 of 13
           Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 3 of 13



“merely consistent with” a defendant’s liability, “it ‘stops short of the line between possibility and

plausibility.’” Id. (citations omitted).

        Although a court must accept well-pleaded facts as true, neither conclusory allegations nor

“legal conclusions masquerading as factual conclusions” are entitled to a presumption of truth. Beavers

v. Metro. Life Ins. Co., 566 F.3d 436, 439 (5th Cir. 2009); see also Iqbal, 556 U.S. at 678–79, 681. A plaintiff

must provide “more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). A complaint must provide

“factual content” that “allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Iqbal, 556 U.S. at 678.

       RELEVANT FACTUAL ALLEGATIONS AGAINST DEFENDANT SUAREZ

        J.J. Suarez is one of the many members of law enforcement who responded to Robb

Elementary School on May 24, 2022. The only time Suarez is individually referenced in the Complaint

is when Plaintiff alleges he entered the West building at Robb Elementary School at approximately

11:41 a.m. See Dkt. No. 1 at ¶ 35. Otherwise, Plaintiff groups Suarez with the other police officers

referred to as “UCISD-PD Defendants.” Plaintiff generally alleges that when UCISD-PD Defendants

arrived on scene, they confined the Shooter, three teachers, and thirty students to Classrooms 111 and

112. Id. at ¶ 238. Plaintiff also alleges that UCISD-PD Defendants used “force and authority to

involuntarily confine students and teachers inside Classrooms 11 and 112 with the Shooter.” Id. at ¶

276. In addition, Plaintiff vaguely alleges that the UCISD-PD Defendants knew about the dangerous

situation and parents’ inability to reach their children.

                                 ARGUMENT AND AUTHORITIES

A.      The Court Lacks Subject Matter Jurisdiction Over Plaintiff’s Individual Claims.

        “Before a federal court can consider the merits of a legal claim, the person seeking to invoke

the jurisdiction of the court must establish the requisite standing to sue.” Whitmore v. Arkansas, 495



                                                 Page 3 of 13
          Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 4 of 13



U.S. 149, 154 (1990). In order to establish standing, a plaintiff must show (1) it has suffered an “injury

in fact” that is (a) concrete and particularized and (b) actual or imminent, not conjectural or

hypothetical; (2) the injury is fairly traceable to the challenged action of the defendant; and (3) it is

likely, as opposed to merely speculative, that the injury will be redressed by a favorable decision.

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc. 528 U.S. 167, 180-81 (2000). “The injury

must affect the plaintiff in a personal and individual way.” Lujan v. Defenders of Wildlife, 504 U.S. 555,

560 n.1 (1992).

        Plaintiff lacks individual standing to assert constitutional claims under 42 U.S.C. § 1983

because her claims are predicated on allegations that Suarez violated the constitutional rights of her

child—not her own personal constitutional rights. See generally Dkt. No. 1. Parents of victims simply

cannot bring individual claims based on alleged constitutional violations or deprivations of their child’s

rights. Coon v. Ledbetter, 780 F.2d 1158, 1160 (5th Cir. 1986); see also Landry v. Cypress Fairbanks Indep.

Sch. Dist., 2018 WL 3436971, at *3-4 (S.D. Tex. July 17, 2018) (finding mother lacked standing to bring

her own First, Fifth, and Fourteenth Amendment claims, based on the denial of her daughter’s

constitutional rights, stating “courts have found that injuries to a parent resulting from violations of

her child’s constitutional rights are not sufficiently personal for the purposes of the parent’s individual

standing.”). Accordingly, the claims asserted by Plaintiff in her individual capacity should be dismissed

with prejudice based on a lack of subject matter jurisdiction.

B.      Plaintiff’s Claims are Barred by Qualified Immunity.

        Individual defendants sued for constitutional violations under Section 1983 may invoke the

defense of qualified immunity. Public servants are immune from suit unless their conduct violated

“clearly established statutory or constitutional rights of which a reasonable person would have

known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982); see also Brown v. Callahan, 623 F.3d 249, 253 (5th

Cir. 2010). Immunity protects public officials from the disruption and costs associated with litigation.



                                              Page 4 of 13
          Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 5 of 13



Mitchell v. Forsyth, 472 U.S. 511, 526 (1985). Plaintiffs may not engage in discovery until they have

supported their constitutional claims with sufficient facts that, if true, would overcome the immunity

defense. See Iqbal, 556 U.S. at 685-86; Zapata v. Melton, 750 F.3d 481, 485-86 (5th Cir. 2014); Winstead

v. Box, 419 F. App’x 468, 469 (5th Cir. 2011) (citing Wicks v. Miss. State Emp’t Servs., 41 F.3d 991, 994

(5th Cir. 1995)).

        The availability of qualified immunity is a question of law. Siegert v. Gilley, 500 U.S. 226, 231-

32 (1991). Courts must determine (i) whether the plaintiffs have described a violation of a

constitutional right; and (ii) whether the right was “clearly established” at the time of the official’s

conduct. Pearson v. Callahan, 555 U.S. 223, 232 (2009). Courts may decide which prong to address first

based on the circumstances of the case. Id. at 225. Under the first prong a court must decide “whether

the plaintiff[s] ha[ve] alleged a violation of a constitutional right.” Charles v. Grief, 522 F.3d 508, 511

(5th Cir. 2008) (citations omitted). The second prong requires a court to determine whether the right

was clearly established at the time of the incident. Hare v. City of Corinth, Miss., 135 F.3d 320, 326 (5th

Cir. 1998). If so, the court must evaluate whether the conduct of the official was objectively

unreasonable under clearly established law. Id.; Davis v. McKinney, 518 F.3d 304, 317 (5th Cir. 2008).

        Plaintiff bears the burden to show the official violated clearly established law. Brinsdon v.

McAllen Indep. Sch. Dist., 863 F.3d 338, 347 (5th Cir. 2017); Kovacic v. Villareal, 628 F.3d 209, 212 (5th

Cir. 2010), cert. denied, 564 U.S. 1004 (2011). Plaintiff must identify the violation of a “particularized”

right so that it is apparent to the official that his actions are unlawful in light of pre-existing law.

Anderson v. Creighton, 483 U.S. 635, 640 (1987). Further, plaintiff must show that the “contours” of the

right were “sufficiently clear that a reasonable official would understand that what he is doing violates

that right.” Alexander v. Eeds, 392 F.3d 138, 146-47 (5th Cir. 2004) (citations and internal quotation

marks omitted). In addition, “[t]he defendant’s acts are held to be objectively reasonable unless all

reasonable officials in the defendant’s circumstances would have then known that the defendant’s



                                              Page 5 of 13
          Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 6 of 13



conduct violated the United States Constitution . . . as alleged by the plaintiff.” Thompson v. Upshur Cty.,

Tex., 245 F.3d 447, 457 (5th Cir. 2001) (emphasis in original). If “officers of reasonable competence

could disagree on the issue, immunity should be recognized.” Hope v. Pelzer, 536 U.S. 730, 752 (2002).

The reasonableness of an official’s actions is based on the information available to the official at the

time of the event. Morgan v. Swanson, 755 F.3d 757, 760 (5th Cir. 2014).

        Plaintiff must also allege with specificity how the defendant violated the particularized right.

Kovacic, 628 F.3d at 212; Babb v. Dorman, 33 F.3d 472, 479 (5th Cir. 1994). Moreover, where multiple

defendants are alleged to have committed constitutional violations, the plaintiff must allege with

specificity what each defendant did to commit those violations, and the court should analyze each claim

of qualified immunity separately. Babb v. Dorman, 33 F.3d 472, 479 (5th Cir. 1994); see also Darden v. City

of Fort Worth, Tex., 880 F.3d 722, 731 (5th Cir. 2018) (“In cases where the defendants have not acted

in unison, qualified immunity claims should be addressed separately for each individual defendant.”)

(internal citations and quotations omitted). Because vicarious liability or respondent superior liability is

impermissible under Section 1983, the plaintiff “must plead that each Government-official defendant,

through the official’s own individual actions, has violated the Constitution.” Iqbal, 556 U.S. at 676; see

also James v. Tex. Collin Cnty., 535 F.3d 365, 373 (to state a personal-capacity claim under Section 1983,

a plaintiff must allege that the individual defendant was personally involved in the constitutional

deprivation, or that their wrongful actions were causally connected to such a deprivation).

        Finally, once a defendant asserts qualified immunity, plaintiffs must respond with specificity

and “fairly engage” the immunity defense. Schultea v. Wood, 47 F.3d 1427, 1433 (5th Cir. 1995). The

standard requires more than conclusory assertions. See Baker v. Putnal, 75 F.3d 190, 195 (5th Cir. 1996).

Plaintiffs must “plead[] factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.




                                               Page 6 of 13
             Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 7 of 13



        1.       Suarez is entitled to qualified immunity against Plaintiff’s Fourth Amendment
                 claims.

        “The Fourth Amendment protects ‘[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.’ [T]he ‘seizure’ of a ‘person,’

which can take the form of ‘physical force,’ or a ‘show of authority’ that ‘in some way restrain[s] the

liberty’ of the person.” Torres v. Madrid, 592, U.S., 306, 307 (2021) (quoting Terry v. Ohio, 392 U.S. 1,

19, n. 16 (1968)). “At the adoption of the Fourth Amendment, a ‘seizure’ was the ‘act of taking by

warrant’ or ‘of laying hold on suddenly.’” Torres, 592, U.S. at 312 (citation omitted). “A seizure requires

the use of force with an intent to restrain. Accidental force will not qualify. Nor will force intentionally

applied for some other purpose satisfy the rule.” Id. at 311 (emphasis in original) (citation omitted).

“[T]he appropriate inquiry is whether the challenged conduct objectively manifests an intent to

restrain….” Id. (emphasis in original). “Nor does the seizure depend on the subjective perceptions of

the seized person.” Id. at 318.

        In support of her Fourth Amendment claim, Plaintiff generally alleges that law enforcement

officers “seized” students and teachers. Dkt. No. 1 at ¶ 276. But Plaintiff does not specifically allege

any action or inaction of Suarez that would support her claim that Suarez violated A.G.R.’s Fourth

Amendment rights. At most, Plaintiff alleges that Suarez arrived on the scene at approximately 11:41

a.m. Dkt. No 1 at ¶ 35. This one allegation does not remotely suggest that Suarez seized A.G.R. And

even if it did, Plaintiff still has not alleged any facts suggesting that Suarez’s alleged actions were

objectively unreasonable. Qualified immunity is overcome only if, at the time and under the

circumstances of the challenged conduct, all reasonable officers would have realized the conduct was

prohibited by the federal law on which the suit is founded. Dudley v. Angel, 209 F.3d 460-462 (5th Cir.

2000). Accordingly, Suarez is entitled to qualified immunity if reasonable officers could differ on the

lawfulness of his actions.




                                               Page 7 of 13
             Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 8 of 13



        Regardless, because Plaintiff does not directly allege that Suarez did anything to “seize”

A.G.R., and instead merely allege that he was one of multiple officers who were at the school during

the active shooter event, Plaintiff has failed to state a claim under the Fourth Amendment and has

also failed to overcome Suarez’s entitlement to governmental immunity. Babb, 33 F.3d at 479; Darden,

880 F.3d at 731. Plaintiff’s Fourth Amendment claims against Suarez should be dismissed with

prejudice.

        2.       Suarez is entitled to qualified immunity against Plaintiff’s Fourteenth
                 Amendment special relationship theory of liability.

        The special relationship theory of liability under the Fourteenth Amendment only applies in

very limited circumstances: where the “state, by affirmative exercise of power, has custody over an

individual involuntarily or against his will.” Walton v. Alexander, 44 F.3d 1297, 1301 (5th Cir. 1995).

This theory of liability was examined by the Supreme Court in DeShaney v. Winnebago County Dept. of

Social Servs., 489 U.S. 189, 196 (1989). In DeShaney, the Court held that “in the substantive due process

analysis, it is the State’s affirmative act of restraining the individual’s freedom to act on his own behalf-

through incarceration, institutionalization, or other similar restraint of personal liberty- which is the

‘deprivation of liberty’ triggering the protections of the Due Process Clause, not its failure to act to

protect the interests against harms inflicted by other means.” DeShaney, 489 U.S. at 200.

        However, the Fifth Circuit has categorically rejected the special relationship theory in the

public-school context:

        a public school does not have a DeShaney special relationship with its students requiring
        the school to ensure the students' safety from private actors. Public schools do not
        take students into custody and hold them there against their will in the same way that
        a state takes prisoners, involuntarily committed mental *858 health patients, and foster
        children into its custody. Without a special relationship, a public school has no
        constitutional duty to ensure that its students are safe from private violence.

Doe ex rel. Magee v. Covington Cnty. Sch. Dist. ex rel. Keys, 675 F.3d 849, 857–58 (5th Cir. 2012) (internal

citations omitted). And courts continue to affirm that no special relationship exists in the school



                                               Page 8 of 13
             Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 9 of 13



context. Estate of Causey v. Miles, No. 3:15-CV-00914-N, 2015 WL 13742550, at *5 (N.D. Tex. Nov.

19, 2015); Estate of Montana Lance v. Lewisville Indep. Sch. Dist., No. 4:11-CV-00032, 2012 WL 12875690,

at *5 (E.D. Tex. May 11, 2012), aff’d, 743 F.3d 982 (5th Cir. 2014); Doe v. Columbia-Brazoria Indep. Sch.

Dist., 855 F.3d 681 (5th Cir. 2017). See also Leffall v. Dallas Indep. Sch. Dist., 28 F.3d 521, 526 (5th Cir.

1994) (no special relationship liability arising from shooting in school parking lot after school

sponsored dance); Johnson v. Dallas Indep. Sch. Dist., 38 F.3d 198 (5th Cir. 1995) (no special relationship

liability arising from sexual molestation at boarding school for the deaf); Doe v. Sabine Parish Sch. Board,

24 F.3d 655 (5th Cir. 1998) (no special relationship liability arising from sexual abuse and batter of

kindergarten student by classmates during school); and Priester v. Lowndes County, 354 F.3d 414 (5th Cir.

2004) (no special relationship liability arising from serious eye injury resulting from racially motivated

attack during football practice).

        Accordingly, Suarez could not have had a “special relationship” with the A.G.R. as a matter

of law, and he did not have a constitutional duty to protect her from harm inflicted by a private actor.

DeShaney, 489 U.S. 189 at 202. And, because the special relationship theory does not create a right that

is clearly established in the Fifth Circuit, Plaintiff cannot overcome Suarez’s entitlement to qualified

immunity. Plaintiff’s claims should be dismissed. Doe on Behalf of Doe v. Dallas Indep. Sch. Dist., 534 F.

Supp. 3d 682, 691 (N.D. Tex. 2021); Doe ex rel. Magee, 675 F.3d at 856.

        3.       Suarez is entitled to qualified immunity against Plaintiff’s Fourteenth
                 Amendment state-created danger theory of liability.

        The Fifth Circuit has repeatedly declined to recognize the “state-created danger” theory of

liability in any context. Fisher v. Moore, 73 F.4th 367, 372 (5th Cir. 2023) (In our published, and thus

binding, caselaw, “[w]e have repeatedly declined to recognize the state-created danger doctrine.”)

(collecting cases); Estate of Lance v. Lewisville Indep. Sch. Dist., 743 F.3d 982, 1001-2 (5th Cir. 2014);

Covington Cnty. Sch. Dist., 675 F.3d at 864, 865 (the Fifth Circuit has “never explicitly adopted the state-

created danger theory” and “decline[d] to use th[e] en banc opportunity to adopt the state created


                                               Page 9 of 13
         Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 10 of 13



danger theory in this case”); Rios v. City of Del Rio, Tex., 444 F.3d 417, 422-23 (5th Cir. 2006) (“neither

the Supreme Court nor this court has ever either adopted the state-created danger theory or sustained

a recovery on the basis thereof”); see also Buston v. Martini Club, 599 F.3d 458, 466 (5th Cir. 2010)

(theory not adopted by Fifth Circuit); Luevano v. County of Uvalde, Tex., 355 F. App’x 834, 836 (5th Cir.

2009) (same); Hale v. Bexar County, 342 F. App’x 921 (5th Cir. July 27, 2009) (“[t]his Circuit has never

expressly accepted the state-created danger”); Rivera v. Houston Indep. Sch. Dist., 349 F.3d 244, 249 (5th

Cir. 2003) (declining to recognize state-created danger theory).

        Because a “a never-established right cannot be a clearly established one,” Suarez is entitled to

qualified immunity against Plaintiff’s Fourteenth Amendment state-created danger theory of liability.

Fisher, 73 F.4th at 369 (emphasis in original).

        But even if the “state-created danger” theory were recognized by the Fifth Circuit, Plaintiff

does not plead facts that would state a claim under the “state-created danger” theory. To maintain a

claim pursuant to a “state-created danger” theory, a plaintiff must show that (1) the defendant used

its authority to create a dangerous environment for the plaintiff, and (2) the defendant acted with

deliberate indifference toward the plaintiff. Covington Cnty. Sch. Dist., 675 F.3d at 865 (quoting Rios, 444

F.3d at 424) (the “state-created danger theory is inapposite without a known victim”); see also Breen v.

Texas A&M Univ., 485 F.3d 325, 335 (5th Cir. 2007). To establish deliberate indifference for purposes

of state-created danger, the plaintiff must show that “[t]he environment created by the state actors

must be dangerous; they must know it is dangerous; and . . . they must have used their authority to

create an opportunity that would not otherwise have existed for the third party’s crime to occur.”

Covington Cnty. Sch. Dist., 675 F.3d at 865 (quoting Piotrowski v. City of Houston, 237 F.3d 567, 585 (5th

Cir. 2001)) (citation and internal quotation marks omitted).

        Moreover, Courts have routinely dismissed “state-created danger” claims when the plaintiffs’

complaint demonstrated that the state actors did not create the danger by some affirmative act.



                                              Page 10 of 13
         Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 11 of 13



DeShaney, 489 U.S. at 203 (although Department received numerous warnings that boy was being

abused by his father, Department did not create dangers boy faced); see also Johnson v. Dallas Indep. Sch.

Dist., 38 F.3d 198 (5th Cir. 1994) (affirming dismissal of plaintiff’s complaint on Rule 12(b)(6) grounds

when student was shot and killed on school premises on day where metal detectors were not utilized

and no one checked school identification badges of individuals entering premises); Salas v. Carpenter,

980 F.2d 299 (5th Cir. 1992) (finding that Sheriff’s dismissal of hostage negotiation personnel and

other law enforcement officials did not create or make victim more vulnerable to danger that assailant

would kill hostage). The state-created danger exception “simply is not implicated by the failure of

state actors to protect individuals from [even] known and serious risks of harm.” Moore v. Dallas Indep.

Sch. Dist., 557 F. Supp. 2d 755, 767 (N.D. Tex. 2008).

        Furthermore, a plaintiff cannot maintain a claim based upon the state-created danger theory

unless the plaintiff shows the entity’s specific knowledge of immediate harm to a known victim. Sanez

v. Heldenfels Bros., Inc., 183 F.3d 389, 392 (5th Cir. 1999); see also Doe ex rel. Magee, 675 F.3d at 866

(finding that the plaintiffs’ allegations did not support a claim under the state-created danger theory,

even though the school released Jane Doe to a sexual predator on multiple occasions as a result of a

knowingly, flawed student check-out policy, because plaintiffs did not allege that the school knew

about an immediate danger to Jane Doe’s safety); Estate of C.A. v. Castro, 547 F. App’x. 621, 627 (5th

Cir. 2013) (“Even assuming that the district’s customs and policies created a dangerous environment

that would not otherwise existed and to which it was deliberately indifferent, it cannot be said that

HISD was deliberately indifferent with respect to ‘a known victim.’ As the district court held, ‘[t]he

record shows that the plaintiff cannot show a basis to support the inference that HISD knowingly

created a risk that C.A. would drown, as opposed to creating a general risk for students who could not

swim or could not swim well.’”); Dixon v. Alcorn County School District, 499 F. App’x. 364 (2012)(“Sad

as the facts of this case may be, the record makes clear that [R.C.] was merely one student among



                                              Page 11 of 13
          Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 12 of 13



many who faced a generalized risk resulting from the school’s attempt to integrate a mentally disabled

child into a normal school environment. As our cases illustrate, the state-created danger theory

requires a known victim, and the fact that a school’s policy or procedure presents a risk of harm to

students in general is inadequate to satisfy this requirement.”).

        Here, Plaintiff does not and cannot allege that the actions of Suarez created an opportunity

that did not already exist due to the actions of the third-party (shooter). Plaintiff also does not allege

facts that suggest Suarez affirmatively placed A.G.R. in danger. And A.G.R. cannot claim to be a

“known victim” since Plaintiff does not allege that Suarez had reason to believe that A.G.R.

individually was in danger (as opposed to the general school population). Therefore, not only Suarez

is entitled to qualified immunity because the right to be free from state created danger is not a clearly

established right, but Plaintiff has failed to state a Section 1983 claim under the state-created danger

theory of liability.

                                            CONCLUSION

        Defendant Jesus “J. J.” Suarez prays that the court grant his motion to dismiss Plaintiff’s claims

against him for lack of jurisdiction under Federal Rule 12(b)(1) and for failure to state a claim upon

which relief can be granted under Federal Rule 12(b)(6), that the court recognize that Suarez is entitled

to qualified immunity from Plaintiff’s claims, and that all of Plaintiff’s causes of action against

Defendant Suarez be dismissed with prejudice. Defendant Suarez further prays that Plaintiff take

nothing by this suit; that all relief requested by Plaintiff be denied, and that Defendant recover all costs

of suit, as well as for other and further relief, general or special, at law or in equity, to which he may

show himself to be justly entitled.




                                              Page 12 of 13
           Case 2:24-cv-00050-AM Document 25 Filed 06/21/24 Page 13 of 13



                                                      Respectfully submitted,

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                                                      ATTORNEYS FOR J. J. SUAREZ




                                  CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the foregoing instrument has been served
 in accordance with the Federal Rules of Civil Procedure via the Court’s electronic filing system
 on this 21st day of June, 2024.


                                              /s/ James E. Byrom
                                              JAMES E. BYROM

4877-7910-2666, v. 1




                                           Page 13 of 13
